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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  NORTHERN DIVISION
_____________________________                           ________________________
Crystal Long                                *
                                            *
              Plaintiff,                    *     Case No.: 8:17-cv-01955-GJH
                                            *
                                            *
                                            *
                                       v.   *
                                            *
                                            *
Ability Recovery Services, LLC, et al.      *
                                            *
              Defendants.                   *
__________________________________________*____________         _

          DEFENDANT, ABILITY RECOVERY SERVICES, LLC’S MOTION FOR
        SUMMARY JUDGMENT AND OPPOSITION TO PLAINTIFF’S MOTION FOR
                       PARTIAL SUMMARY JUDGMENT

       NOW COMES Defendant, Ability Recovery Services, LLC, by and through its

undersigned counsel, and pursuant to Federal Rule of Civil Procedure 56 moves this Honorable

Court for an Order granting summary judgment in its favor and against Plaintiff, Crystal Long as

to all Counts in Plaintiff’s Amended Complaint and opposes Plaintiff’s Motion for Partial

Summary Judgment. Defendant also seeks an Order from the Court limiting Plaintiff’s damages

to statutory damages for her claims pursuant to the Fair Debt Collections Practices Act, 15

U.S.C. § 1692, et seq., the Maryland Consumer Debt Collection Act, Md. Code Ann., Com. Law

§§ 14-201, et seq. and the Maryland Consumer Protection Act, Md. Code Ann., Com. Law §§

13-301, et seq.
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       A Memorandum of Law with a Statement of Undisputed Facts supporting Defendant’s

Motion for Summary Judgment and opposing Plaintiff’s Motion for Partial Summary Judgment

is attached hereto.

                                        Respectfully submitted,


                                               STRADLEY RONON STEVENS &
                                               YOUNG


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                               CERTIFICATE OF SERVICE

              I, Thomas F. Lucchesi, hereby certify that the foregoing Motion, accompanying

brief and exhibits were filed electronically through the Court’s ECF system and were served

electronically through the Court’s ECF system upon all counsel of record.




                                                  /s/ Thomas F. Lucchesi
                                                  Thomas F. Lucchesi
